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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

RUBEN ROMERO,

      Plaintiff,

v.                                                                 No. CV 21-544 KG/CG

CORE CIVIC, INC., et al.,

      Defendants.

                       ORDER FOR JOINT STATUS REPORT

      THIS MATTER is before the Court upon review of the record. IT IS HEREBY

ORDERED that the parties shall file a Joint Status Report by no later than January 14,

2022, updating the Court on the following:

      (1) the status of discovery;

      (2) the parties’ amenability to scheduling a settlement conference, and

      (3) if the parties are ready to participate meaningfully in a settlement conference,

      several dates when the parties are available for a settlement conference.

      IT IS SO ORDERED.



                                     _________________________________
                                     THE HONORABLE CARMEN E. GARZA
                                     CHIEF UNITED STATES MAGISTRATE JUDGE
